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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                 )
                                       )
                    Plaintiff,         )
      v.                               )     C.A. No. 19-1105 (RGA)
                                       )
DRAFTKINGS, INC.,                      )
                 Defendant.            )


 DEFENDANT DRAFTKINGS INC.’S REPLY BRIEF IN SUPPORT OF ITS MOTION
      TO DISMISS FOR FAILURE TO STATE A CLAIM PURSUANT TO
            FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

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I.      INTRODUCTION

                In its Opening Brief (D.I. 11), DraftKings showed that the asserted patents claim

abstract ideas with no saving inventive concept. In its Answering Brief (D.I. 13), IG fails to

meaningfully address the claims’ deficiencies or the analogous cases holding similar claims

ineligible. Rather, IG devotes its opposition to manufacturing alleged disputes regarding questions

of fact, representative claims, and claim construction issues. First, contrary to IG’s assertions, the

claims—as opposed to the specifications—recite no more than functional and result-based steps and

lack any limiting detail to confine them to a particular solution to an identified problem. IG’s

reliance on Aatrix and Berkheimer to suggest that questions of fact preclude resolving the step-two

analysis now is misplaced. Where, as here, the specifications state that the claimed technology was

well-understood, routine, and conventional, there is no factual dispute at step two to preclude

dismissal at the Rule 12(b)(6) stage. IG’s attempts to inject unclaimed subject matter into the

eligibility analysis is improper and highlights that the claims as written are ineligible. Second, IG

fails to show that any claim of an asserted patent is not adequately represented by the independent

claims analyzed by DraftKings. Each of the dependent claims identified in IG’s Brief relates to the

same abstract concepts as its respective independent claim and none add an inventive concept.

Third, there is no claim construction dispute precluding dismissal now—the asserted claims are

ineligible even under IG’s constructions (which are directly contradicted by the specifications).

II.     DRAFTKINGS’ MOTION IS PROCEDURALLY PROPER

        A. No Plausible, Disputed Factual Allegations Preclude Dismissal

                Relying on Aatrix and Berkheimer, IG wrongly contends that the allegations in its

Complaint create factual issues that prevent resolving the eligibility question at this stage. D.I. 13 at

5-6. IG ignores that the “decisions in Berkheimer and Aatrix are narrow: to the extent it is at issue

in the case, whether a claim element or combination of elements is well-understood, routine, and


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conventional is a question of fact.” Aatrix Software, Inc. v. Green Shades Software, Inc., 890 F.3d

1354, 1359 (Fed. Cir. 2018). Importantly, only a “genuine dispute of material fact” as to the

“invention as claimed” can prevent dismissal. Id. “In a situation where the specification admits the

additional claim elements are well-understood, routine, and conventional, it will be difficult, if not

impossible, for a patentee to show a genuine dispute.” Id. at 1356. Such is the case here.

               IG fails to identify a single factual allegation precluding dismissal under Aatrix or

Berkheimer. Instead, IG broadly contends that “[t]he Complaint alleges that the technological

solutions provided in the asserted claims, e.g., user and device verification and authorization for

remote gambling systems, are unconventional and inventive because they did not exist until the

advent of remote, network-based gaming and state-by-state mobile gaming regulations.” D.I. 13 at 5.

But the step-two inquiry is not whether the claim “as a whole is unconventional,” but whether the

claim constitutes an “inventive concept” such that it amounts to significantly more than a patent on

the abstract idea. See BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1285 (Fed. Cir. 2018).

Moreover, contrary to IG’s allegations, the specifications admit that device location verification was

conventional and routinely performed by third-party providers. E.g., ’231 Patent at 53:59-54:4

(explaining “a communication service provider (e.g., Sprint) may track a current location of a mobile

device” and gaming services may query such a third-party “to verify a location as desired”). IG’s

argument is thus contradicted by the specifications and should be disregarded. See Secured Mail

Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (“In ruling on a 12(b)(6)

motion, a court need not ‘accept as true allegations that contradict matters properly subject to

judicial notice or by exhibit,’ such as the claims and the patent specification.”).

               IG argues that the ’231 and ’302 Patents are directed to an allegedly novel

“multisystem secure authentication protocol,” and that this allegation creates a factual dispute that




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precludes dismissal. D.I. at 6. It is well settled, however, that the fundamental consideration of the

eligibility analysis is “the language of the Asserted Claims themselves.” ChargePoint, Inc. v.

SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019). The specification “cannot be used to import

details from the specification if those details are not claimed.” Id. That is exactly what IG attempts

to do in its Complaint and opposition. Claim 1 of the ’231 Patent, for instance, merely recites a

processor that authorizes a device “based on one or more characteristics of the device other than

location”—a broad limitation not requiring the allegedly novel “multisystem” configuration. This

alone makes any factual allegation regarding an alleged “multisystem secure authentication

protocol” moot for purposes of the §101 inquiry because the claims themselves must recite the

alleged inventive concept, not just the specification or mere attorney argument. See, e.g., Two-Way

Media Ltd. v. Comcast Cable Comms., LLC, C.A. No. 14-1006-RGA, 14-1212-RGA, 2016 WL

4373698, at *5 (D. Del. Aug. 15, 2016), aff’d 874 F.3d 1329 (Fed. Cir. 2017).

       B. DraftKings’ Identified Claims are Representative

               It is well-settled that the eligibility of all claims of a patent may be determined based

on an analysis of a representative claim. See Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir.

2018). In its opposition, IG identifies a handful of dependent claims as allegedly non-representative,

but “does not present any meaningful argument for the distinctive significance of any claim

limitations not found in the representative claim.” Id. For example, IG argues that Claims 8-11 of

the ’231 Patent are distinct from representative Claim 1 because they “employ a combined order of

specific rules that renders information into a specific format.” D.I. 13 at 7-8 (quotations omitted).

Instead, Claim 8 recites:

               8. The apparatus of claim 1, in which determining the period of time
               includes determining a period of time that is larger when the distance
               is larger and smaller when the distance is smaller.

Claiming larger or smaller time periods is a purely abstract limitation covering an infinite set of


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possibilities. This claim does not recite a specific order of limitations or “specific rules” and

“specific formats” that IG alleges. The claims do not change the focus from the abstract idea of

“analyzing information, including periodically-determined location information, to determine

whether to allow gaming activity,” and add no inventive concept. BSG Tech, 899 F.3d at 1291

(“[N]arrowing or reformulating an abstract idea does not add significantly more to it.”)

               IG also argues that Claims 2 and 4 of the ’901 Patent “specify how to calculate

‘signal characteristics’ recited in claim 27, adding inventive concepts of the geolocation

technology.” D.I. 13 at 8. Instead, Claim 2 recites:

               2. The method of claim 1, in which the first set of signal
               characteristics includes strengths of a plurality of signals between the
               mobile device and the signal detection devices.

Far from explaining “how to calculate” anything, this claim merely recites what is analyzed—signal

strength (a conventional type of signal characteristics)—and just barely narrows the abstract type of

“signal characteristics” to a different abstract type. Analyzing a slightly different abstract category

of information does not change the focus of the claims or add an inventive concept.

       C. Claim Construction Is Not Required For Dismissal

               IG seeks to delay dismissal by proposing a wholly unsupported construction and

insisting this Court construe two instances the word “determining.” D.I. 13 at 9. Contrary to IG’s

assertions, “claim construction is not an inviolable prerequisite to validity determinations under

§101.” Genetic Techs. Ltd. v. Merial LLC, 818 F.3d 1369, 1374 (Fed. Cir. 2016). This is especially

true where, as here, the proposed construction lacks merit. Specifically, IG contends that

“determining” in one limitation “should be construed to mean that the algorithm for calculating and

adjusting the frequency of the authentication depends on the proximity of the user to the boundary of

the area where a gaming activity is allowed.” D.I. 13 at 10. But IG fails to identify any intrinsic

support for its constructions and ignores the explicit definition of the term provided in each patent.


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E.g., ’231 Patent at 5:16-27 (“The term ‘determining’ … is used in an extremely broad sense …

[and] encompasses a wide variety of actions” (emphasis added)). No material dispute exists here.

                Even if the Court adopts IG’s constructions, that does not change the abstract focus of

the claims. IG’s proposed construction for “determining a period of time” (“the algorithm for

calculating and adjusting the frequency of authentication”) was held abstract long before Alice. See

Parker v. Flook, 437 U.S. 584, 596 (1978) (calculating and adjusting a parameter via an equation is

an abstract idea). Likewise, IG’s proposed construction for “determining a location” (“an algorithm

for calculating and pinpointing the location of a mobile device based on specific comparisons of the

nature of wireless signal patterns”) (D.I. 13 at 10) adds nothing because analyzing and comparing

data is abstract. See Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016).

And at step-two IG does not assert that such algorithms—implemented on generic computer

hardware—provide an inventive concept or technical solution.

III. THE ’231 AND ’302 PATENTS CLAIM INELIGIBLE SUBJECT MATTER

         A. Step One: The ’231 and ’302 Patents Are Directed To An Abstract Idea

                IG alleges that the ’231 and ’302 Patents are not abstract at step one because they are

directed to the alleged “technical improvement” of a “multisystem secure authentication protocol”

(D.I. 13 at 10) and process for “location redetermination” (id. at 11-12). IG, however, relies on

unclaimed details not recited by any claims. This is improper—any “reliance on the specification

must always yield to the claim language in identifying [the] focus [of the claims].” ChargePoint,

920 F.3d at 766 (emphasis added). The plain text of representative Claim 1 recites only generic and

abstract limitations (i.e., determine a device/user/location is authorized) with no specific technical

improvements.

                For example, IG argues that the claimed system offers the specific technical solution

of:


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               using a “multisystem secure authentication protocol” to authorize the
               mobile device. In one example, an authenticator service confirms
               that a unique identifier for the device is associated with an
               authorized account or list of authorized devices. The system can also
               ensure that devices do not include software that enables otherwise
               prohibited access. It does so by validating that certain external
               communication interfaces are disabled.

D.I. 13 at 11 (citations omitted). But Claim 1 does not claim any of these features. D.I. 11 at 3. Nor

do any other claims. The claim language controls, and here that language is too abstract and generic

to confer eligibility. IG also fails to address Federal Circuit authority holding the same alleged

“technical solution” as abstract. See D.I. 11 at 8. Specifically, the Federal Circuit affirmed that

using a unique identifier to authenticate an email sender “embrace[d] the abstract idea of using a

marking … to communicate information about the mail object, i.e., the sender.” Secured Mail, 873

F.3d at 911. Thus, even the unclaimed detail IG relies on has been held to be abstract.

               IG also relies on other unclaimed matter in alleging that its claims recite a technical

solution, including the allegation that the claims “leverage[e] geofencing, GPS, and triangulation

techniques to create virtual perimeters of geographic areas that allow or disallow gaming.” D.I. 13 at

12. Instead, Claim 1 only recites two purely generic location determination steps: “determine

that/whether the device is associated with a first/second location.” Moreover, the specifications

admit that these location steps were conventional and had already been commoditized by third

parties. See ’231 Patent at 53:59-66, 54:15-16.

               IG next claims that the configuration recited in Claim 1 “improv[es] the efficiency

and performance of the computer system itself” by minimizing redeterminations. D.I. 13 at 12. This

argument also fails. First, claiming location determination based only on a “distance from a

boundary” with no additional detail does not claim a specific technical aspect that would “minimize

the requirement for constant surveillance” at certain times and therefore does not provide a

“specific improvement to computer functionality.” Second, IG’s reliance on Enfish is misplaced.


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See D.I. 13 at 13. In Enfish, the claims were “not simply directed to any form of storing tabular data,

but instead [were] specifically directed to a self-referential table” that functioned differently than

conventional database structures. Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1337 (Fed. Cir.

2016). Here, performing a well-known function (location determination) in the same way but more

or less frequently does not recite an improvement to the underlying performance or function of

that activity. Third, performing authorization based on distance to a boundary in order to conserve

resources has been performed by casino operators for decades by stationing additional security

personnel at entry points, with fewer stationed throughout the casino floor. Thus, the very

“improvement” that IG touts is abstract.

         B. Step Two: The ’231 and ’302 Patents Lack an Inventive Concept

               At step two, IG alleges that its claims recite the inventive concept of leveraging

“multiple layers of authentication protocols to authenticate the user, the user’s device, and its

location.” D.I. 13 at 14. But such systems have been applied in countless contexts throughout

human history. See Maxell, Ltd. v. Fandango Media, LLC, No. CV 17-07534 AG (SSX), 2018 WL

4502492, at *4 (C.D. Cal. Sept. 11, 2018), aff’d, No. 2019-1088, 2019 WL 4941873 (Fed. Cir. Oct.

8, 2019) (“imposing specific event-based restrictions on activity is … something that humans have

done in many contexts throughout human history”). Applying this abstract concept in a new context,

i.e., mobile gaming, also does not save the claims. See DDR Holdings, LLC v. Hotels.com, L.P., 773

F.3d 1245, 1258 (Fed. Cir. 2014) (cautioning that applying an abstract concept with routine

additional steps to address challenges in a new context does not confer eligibility).

               Invoking a generic location determination process at a determined time period based

on distance also fails to transform the claims because it encompasses steps people go through in their

minds and is an “essentially mental process[] within the abstract idea category.” See Elec. Power

Grp., LLC v. Alstom S.A., 830 F.3d at 1354. The specification confirms that these location


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determining steps have an “extremely broad” definition, which includes human activity such as

“looking up in a table,” and thus are abstract. ’231 Patent at 5:15-27. As such, even when taken as

an ordered combination, the recited location determination processes cannot supply the inventive

concept. See BSG Tech., 899 F.3d at 1290 (“[A] claimed invention’s use of the ineligible concept to

which it is directed cannot supply the inventive concept[.]”).1

IV.   THE ’901 PATENT CLAIMS INELIGIBLE SUBJECT MATTER

          A. Step One: Comparing Signal Characteristics Is Abstract

                Claim 27 of the ’901 Patent is directed to the abstract concept of collecting

information, analyzing it, and taking action based on the analysis. IG argues that Claim 27 recites a

specific technological improvement by “disclos[ing] the specific structure of the novel system’s

architecture for detecting the location of a device covered by a communications network” and

“calculating signal characteristics between a calibration device and signal detection devices and

comparing the calculated signal characteristics with those received from a mobile device.” D.I. 13 at

16. But, as the claim language makes clear, (see D.I. 11 at 11), no “specific structure” or

“architecture” is recited in Claim 27, and IG’s touted improvement of “comparing signal

characteristics” is nothing more than the abstract concept of “information collection and analysis.”

Elec. Power Grp., 830 F.3d at 1355. Legally, “narrowing or reformulating an abstract idea” such as

by applying it to different types of data (i.e., signal characteristics) “does not add significantly more

to it.” BSG Tech, 899 F.3d at 1291. Far from providing a specific solution to a technical problem,

the ’901 Patent simply claims a generic method of information collection and analysis.


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        IG also imports limitations from ten different claims in alleging that “Claim 1 of the ’231
patent” determines a “period of time that takes into account multiple factors” such as speed,
direction, and distance. D.I. 13 at 12. Instead, Claim 1 recites a single factor—distance. But even the
unclaimed factors fail to transform the abstract focus—analyzing data from one or multiple data sets
is abstract. See Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass'n, 776 F.3d
1343, 1347 (Fed. Cir. 2014) (collecting data sets and recognizing data within as abstract).


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         B. Step Two: Comparing Data Does Not Supply An Inventive Concept

               IG alleges that the ’901 Patent recites “an inventive concept based on jurisdictional

compliance”—namely, “accurately determining the location of a user’s mobile device to ensure

compliance.” D.I. 13 at 18. This is not an inventive concept, but another formulation of the abstract

idea itself. See BSG Tech., 899 F.3d at 1290. The lack of any inventive concept beyond this abstract

idea is illustrated by the “redacted” version of Claim 27 that IG provides. D.I. 13 at 16. IG faults

DraftKings for alleged oversimplification by focusing on the “functional” steps and disregarding the

remaining limitations. Id. The unredacted steps—“determining a location of the communication

device,” “enabl[ing] [gaming functionality] based upon the determined location,” and “disabling the

wagering functionality in response to a period of non-use”—are just the abstract concept of allowing

gaming activity based on location. The blacked-out text recites nothing more than the abstract

concepts of collecting information (i.e., sets of signal characteristics for locations), analyzing the

information (i.e., comparing signal characteristics of a device to the sets of signal characteristics to

determine location), and taking an action based on the analysis (i.e., turning on gaming

functionality). Merely “[a]dding one abstract idea … to another abstract idea … does not render the

claim non-abstract.” RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017).

IG’s cited comparison of signal characteristics therefore “cannot supply the inventive concept.” See

BSG Tech., 899 F.3d at 1290.

V.    THE ’967 PATENT CLAIMS INELIGIBLE SUBJECT MATTER

         A. Step One: Authorizing Remote Gaming Is Abstract

               IG contends that the ’967 Patent claims are directed to the specific technical solution

of “using a location verification or determination feature to change and improve the operation of a

mobile gaming device to permit or disallow gaming from [a] remote location depending upon

whether or not the location meets one or more criteria.” D.I. 13 at 19. This is indistinguishable from


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the subject matter held ineligible in Front Row Techs., LLC v. NBA Media Ventures, LLC. See 204 F.

Supp. 3d 1190, 1193 (D.N.M. 2016), aff'd sub nom. Front Row Techs. LLC v. MLB Advanced

Media, L.P., 697 F. App'x 701 (Fed. Cir. 2017). Instead of addressing Front Row, IG attempts to

analogize to SRI Int’l, Inc. v. Cisco Systems, Inc., which held claims that “prevent the normal,

expected operation of a conventional computer network” to be eligible at step one because they

claimed use of a “specific technique … to solve a technological problem arising in computer

networks.” 930 F.3d 1295, 1303-304 (Fed. Cir. 2019). SRI is readily distinguishable. IG conflates

normal operation of a “computer network” from SRI, with normal operation of a “casino.” See D.I.

13 at 19 (“it would have been counterintuitive in 2004 for a casino to limit a user’s wagering”). The

claims here, by contrast, fail to recite any specific technique to solve a technological problem and, in

fact, actually require normal operation of a computer network to function as intended.

         B. Step Two: Location Verification Using Conventional Processes Does Not Supply
            An Inventive Concept

               IG argues that its claims recite the inventive concept of “provid[ing] location

verification suitable to ensure that a user is within an approved gaming area.” D.I. 13 at 20.

However, representative Claim 1 only recites a generic location determination step: “determine that

a gaming device is located within an approved gaming area.” This is simply not inventive—it relies

on conventional technology and does not recite an innovative way of determining a location. See

’967 Patent at 7:5-11 (listing known location verification technologies), 7:66-67 (“any type of

location verification may be used”). Considered as an ordered combination, Claim 1 merely recites a

conventional ordering of steps as would be expected for authorizing wager-based gaming based on

location. It therefore does not recite an inventive concept.

VI.    CONCLUSION

               DraftKings requests that this Court grant its motion to dismiss.



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                                CERTIFICATE OF SERVICE

               I hereby certify that on January 10, 2020, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

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